         Case 3:14-cr-01570-WQH                        Document 105                Filed 10/01/14              PageID.290              Page 1 of 2


     ~AO 2458 (CASD) (Rev. 4/14)    Judgment in a Criminal Case
                Sheet I

                                                                                                                      11\ Oel-· I PH :;: 26
                                               UNITED STATES DISTRICT COURJ"
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                      UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE                                    IlEP.lITY
                                         v.                                         (For Offenses Committed On or After November I, 1987)

                   JOSE ANTONIO PERES-LOPEZ (2)                                     Case Number: 14CR1570-WQH
                                                                                    RICARDO GONZALEZ, CIA
                                                                                    Defendant's Attorney
     REGISTRATION NO. 47253298

     o
     THE DEFENDANT:
     ~ pleaded guilty to count(s) _I_O:..F_T_H_E_IN_F_O_RM_A_T:..IO:..N.:-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not gUilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Couut
     Title & Section                          Nature of Offense                                                                             Number(s)
8 USC 1324(a)(2)(B)(iii)              CONSPIRACY TO BRING IN ILLEGAL ALIENS
and(a)(1 )(A)(v)(l)




        The defendant is sentenced as provided in pages 2 through _ _.::2_ _ ofthisjudgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
   Count(s)                                            -------0---0--------------
 O          _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is          are dismissed on the motion of the United States.
 181 Assessment: $100.00 - Waived

  ~ Fine waived                                     o    Forfeiture pursuant to order filed
                                                                                                 - - - - - - - , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               SEPTEMBER 29,2014




                                                                              HO
                                                                              UNITED STATES DISTRICT JUDGE


                                                                                                                                              14CR1570-WQH
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AO 2458 (CASD) (Rev. 4114) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                                 Judgment - Page _ _2=-_ of   2
 DEFENDANT: JOSE ANTONIO PERES-LOPEZ (2)
 CASE NUMBER: 14CR1570-WQH
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED



     o Sentence imposed pursuant to Title 8 USC Section 1326(b).
     D The court makes the following recommendations to the Bureau of Prisons:



     o   The defendant is remanded to the custody of the United States Marshal.

     o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.      Op.m.       on
               as notified by the United States Marshal.

     o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        --------------------------------------------------
          o    as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.

                                                                RETURN

I have executed this judgment as follows:

         Defendant delivered on     ___________________________ to

at                                                   with a certified copy of this judgment.


                                                                                               UNITED STATES MARSHAL

                                                                      By
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                                                                       14CR1570-WQH
